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                                                                                                 FILED
                                                                                             August 03, 2022
                                                                                           CLERK, U.S. DISTRICT COURT
                                                                                           WESTERN DISTRICT OF TEXAS

                                                                                      BY         Fidel Morales
                             UNITED STATES DISTRICT COURT
                                                                                                             DEPUTY
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION
UNITED STATES OF AMERICA,
     Plaintiff,
                                                                                    -      7ot,-iflT
        V.

GRANT MOSLEY,
    Defendant.

                      United States' Motion to Detain Defendant Without
                              Bond and Motion for Continuance

        Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C. § 3142(e) and (f), files this, its Motion to

Detain Defendant Without Bond and Motion for Continuance, and for cause, would respectfully

show unto the Court the following:

        I.      The Defendant was arrested for a violation of Title        1   8, United States Code,

                Section   922(o),   Possessing,    Engaging in     the     Business     of Importing,
                Manufacturing, or Dealing in Firearms, or in the Course           of Such Business      to

                Ship, Transport, or Receive any Firearm in Interstate or Foreign Commerce.

       2.       The Defendant presents a high risk of fleeing the jurisdiction to avoid prosecution

                on this charge.

       3.       There are no conditions or combination of conditions which will reasonably assure

               the safety of the community should the Defendant be released on bond.

       4.       There are no conditions or combination of conditions which will reasonably assure

               the appearance of the Defendant at future court settings.

       The Government would further move the Court for a three day continuance of the detention

hearing from the date of the initial appearance.
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       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendant without bail pending the final outcome of this case.



                                           Respectfully submitted,

                                           ASHLEY C. HOFF
                                           UNITED STATES ATTORNEY


                                    By:                    Z7
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